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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CENTER FOR PUBLIC INTEGRITY,
         Plaintiff,
         v.                                                Civil Action No. 19-3265 (CKK)
 U.S. DEPARTMENT OF DEFENSE,
          Defendant.


                                             ORDER
                                          (August 6, 2020)

       In consideration of Defendants’ Motion for Summary Judgment (“Defs,’ Mot.”), ECF No.

22, and Plaintiff’s Cross-Motion for Summary Judgment (“Pl.’s Mot.”), ECF No. 23, the Court

hereby ORDERS

       That the parties provide the following documents for in camera review: 8, 9, 11, 12, 13,

14, 15, 20, 21, 22, 23, 24, 25, 28, 30, 33, 34, 35, 38, 40, 41, 42, 43, 44, 45, 51, 52, 53, 54, 56, 60,

63, 64, 66, 67, 68, 69, 71, 72, 73, 74, 75, 76, 77, 78, 82, 83, 86, 92, 94, 95, 96, 97, 98, 99, 100,

101, 102, 103, 104, 105, 106, 107, 111. For each of the listed documents, the Court needs to see

only the information withheld under Exemption 5. Information withheld within those documents

under other exemptions may remain redacted. Following the release of this Order, the Court shall

contact Defendants to arrange a date and time for the delivery of the materials.

   It is so ORDERED.



                                                            /s/
                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge




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